                      Case: 23-3196          Document: 5          Filed: 03/22/2023          Page: 1

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: <=73196                              Case Name: Kw8*Ovom8*Zyo|*]o|8*My|z8*8*PO\M
 Name of counsel: Wk~~ro*O8*Z|smo

 Pursuant to 6th Cir. R. 26.1, American Electric Power Service Corporation
                                                            Name of Party
 makes the following disclosure:
 1.      Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
         identity of the parent corporation or affiliate and the relationship between it and the named
         party:
  See attachment.




 2.      Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
         in the outcome? If yes, list the identity of such corporation and the nature of the financial
         interest:
   No.




                                             CERTIFICATE OF SERVICE

 I certify that on               March 22, 2023                  the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Wk~~ro*O8*Z|smo




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




6CA-1
8/08                                                                                                                 Page 1 of 2
             Case: 23-3196   Document: 5    Filed: 03/22/2023   Page: 2




          ATTACHMENT TO PETITIONER’S DISCLOSURE
     OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

Question 1. Is said party a subsidiary or affiliate of a publicly owned corporation?
If Yes, list below the identity of the parent corporation or affiliate and the
relationship between it and the named party:

      Yes.

      AEPSC has filed its Petition for Review in its own name and on behalf of its
      public utility affiliates Ohio Power Company and AEP Ohio Transmission
      Company Inc.

      American Electric Power Service Corporation (“AEPSC”) states that it is a
      corporation organized and existing under the laws of the State of New York.
      AEPSC is a wholly owned subsidiary of American Electric Power Company,
      Inc. (“AEP”).

      Ohio Power Company is a corporation organized and existing under the laws
      of Ohio. Ohio Power Company is a wholly-owned subsidiary of AEP.

      AEP Ohio Transmission Company, Inc. is a corporation organized and
      existing under the laws of Ohio. AEP Ohio Transmission Company, Inc.’s
      ultimate parent is AEP.

      AEP is a New York corporation whose common stock is held by the public
      and traded on the NASDAQ Stock Market. AEP has no parent company.
      Certain institutional investors including Vanguard may from time to time hold
      10 percent or more of the outstanding shares of AEP, but to AEP’s knowledge
      no publicly-held company has a 10 percent or greater ownership interest in
      AEP.
